Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA



   UNITED STATES OF AMERICA,            )          Case No. 23-cr-80101-CANNON
                                        )
                      Plaintiff,        )
                                        )
   v.                                   )
                                        )
                                        )
   WALTINE NAUTA, and                   )
   CARLOS DE OLIVEIRA,                  )
                                        )
                      Defendants.       )




        DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO PRECLUDE RELEASE OF
                                 VOLUME TWO




                Stanley E. Woodward, Jr.    John S. Irving, IV
                BRAND WOODWARD LAW, LP      E&W LAW, LLC

                Richard C. Klugh            Larry Donald Murrell, Jr.
                KLUGH WILSON, LLC           L.D. MURRELL, P.A.

                Counsel for Defendant       Counsel for Defendant
                Waltine Nauta               Carlos De Oliveira
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 2 of 11




          The release of Volume Two of the Final Report will create irreparable harm to the

   defendants in this pending criminal matter—a matter the government is welcome to dismiss if its

   priorities are to provide the public information about its effort to prosecute President Trump and

   these defendants. The unenforceable disclosure conditions proposed by the government fail to

   alleviate the direct, pervasive threat of prejudice and more significantly will leave this Court

   without recourse should confidential information, or the reactions to or depictions of that

   information by the would-be designated recipients (including partisan figures who have supported

   the prosecutive endeavor) enter the public domain. The harm will be of an irreparable, ongoing

   nature, and tempering the prejudice will be functionally impossible, due to both separation of

   powers principles and the uniquely high-profile nature of the case.

          This Court has the authority to control the flow of information relating to its own criminal

   trials. The government cites no urgency for why the Report must be released now, while the case

   is still pending. And worse yet, the government declares for the first time that this Court does not

   have authority to bind the Justice Department in relation to a pending criminal matter initiated in

   the Department’s name, by an unauthorized Special Counsel. The government’s claim is a

   remarkable assertion that calls into question the validity of the previously entered protective

   orders, to which the government had no prior objection throughout the case. The government

   cannot in good faith suggest that this Court may only bind defense speech and disclosure related

   to the trial, but may not bind the Justice Department. The government used its investigative and

   law enforcement power to obtain confidential information for use in a federal criminal proceeding,

   including federal grand jury authority to bring the indictment in this Court. The government cannot

   now turn around and say that it is wholly insulated from court intervention when it attempts to use

   that information for political immediacy rather than prosecutorial purposes. As with so many

   aspects of this case, the government complains of problems of its own making.

                                                    1
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 3 of 11




          The government concedes that the public release of Volume II would be unfairly prejudicial

   to the two pending codefendants and instead attempts to create a work-around—by referring the

   pending matter to the U.S. Attorney’s Office to claim that the Special Counsel’s investigation has

   “concluded”; and by arguing to this Court that its proposed conditions adequately insulate against

   leaks. But the government’s proposals are insufficient: Where partisan political advantage is at

   stake, leaking—even subject to whatever congressional oversight that may occur—still results.

          I.      Even limited in camera review of Volume Two is highly inappropriate here.

          The government relies on civil case law to suggest that defendants are not entitled to an

   injunction (or, effectively, a protective order precluding disclosure beyond that provided for in this

   Court’s protective orders). In so doing, the government misses the mark: “To safeguard the due

   process rights of the accused, a trial judge has an affirmative constitutional duty to minimize the

   effects of prejudicial pretrial publicity.” Gannett Co., Inc. v. DePasquale, 443 U.S. 368, 378

   (1979). “And because of the Constitution’s pervasive concern for these due process rights, a trial

   judge may surely take protective measures even when they are not strictly and inescapably

   necessary.” Id. The Supreme Court in Gannett also noted the specific concerns about release of

   prejudicial information at the pretrial stage, where publicity can “pose[ ] special risks of

   unfairness,” because it can “influence public opinion against a defendant and inform potential

   jurors of inculpatory information wholly inadmissible at the actual trial.” Id.

          The dangers associated with pretrial publicity are “particularly acute” because it is

   “difficult to measure with any degree of certainty the effects of such publicity on the fairness of

   the trial.” Id. “After the commencement of the trial itself, inadmissible prejudicial information

   can be kept from a jury by a variety of means,” but when “such information is publicized during a

   pretrial proceeding, however, it may never be altogether kept from potential jurors.” Id. at 378-

   79. This Court acts well within its authority to limit the flow of information to “insure that the

                                                     2
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 4 of 11




   fairness of a trial will not be jeopardized by the dissemination of such information throughout the

   community before the trial itself has even begun.” Id. at 379.

          Release of a report will obviously compromise the defendants’ fundamental and

   constitutionally-protected rights to a fair trial. The government argues that because this Court

   dismissed the prosecution, “whether it will ever proceed is uncertain.” DE:703 at 2. The

   government cannot speak out of both sides of its mouth in this fashion. On the one hand, it has

   devoted substantial time and energy to arguing that this Court’s dismissal order was wrong, and

   still to this day actively pursues that argument in the Eleventh Circuit. It has not withdrawn its

   appeal of the dismissal order. Indeed, the government’s every action—including, notably, Jack

   Smith’s preparing the Final Report and continuing to work on the case after he was disqualified—

   has indicated that it does not take this Court’s dismissal order seriously. Only now for the first

   time does the government reverse course and suggest that it views the dismissal order as a correct

   statement of the law that will be upheld by the Eleventh Circuit. The government switches course

   here only for the purposes of evading the restrictions it knows this Court must impose in a pending

   criminal prosecution, especially one as highly publicized as this one.

          The government cites to Trump v. Mazars USA, LLP, 591 U.S. 848, 862-63 (2020), for the

   proposition that providing such information to Congress facilitates that branch’s ability to

   “legislate wisely [or] effectively.” DE:703 at 3. The Mazars case does not mandate release of the

   Report here for several reasons. First, the Supreme Court made that comment in the civil subpoena

   context, not in the criminal law context, and even there noted that congressional power was limited.

   Civil subpoenas must “serve a ‘valid legislative purpose’” and “concern a subject on which

   legislation could be had.” 591 U.S. at 863. The government oddly asserts that Congress has a

   “particularized legislative interest in information about Special Counsel investigations, in order to

   consider possible legislative reforms regarding the use of special counsels.” DE:703 at 3n.2. It is

                                                    3
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 5 of 11




   absurd to suggest that release of Volume Two of the Report—bearing on a still-pending criminal

   matter—is necessary to allow Congress to “consider possible legislative reforms regarding the use

   of special counsels.” Congress can of course examine ways to lawfully appoint special counsels,

   as it has since the 1978 Ethics in Government [Independent Counsel] Act. and it does not need

   Volume Two to do that. In suggesting that release of Volume Two is necessary to allow Congress

   to reform the use of special counsels, the government acknowledges what the defense has asserted

   all along: that information in the Report and reactions to the Report, if shared with the four

   members of Congress proposed by the government, will inevitably be disclosed to other members

   of Congress and to the public more broadly.

          Second, and more importantly, the Supreme Court in Mazars explicitly stated that

   congressional powers in this regard are limited; significantly, “Congress may not issue a subpoena

   for the purpose of ‘law enforcement,’ because ‘those powers are assigned under our Constitution

   to the Executive and the Judiciary.’” 591 U.S. at 863. “Congress may not use subpoenas to ‘try’

   someone ‘before [a] committee for any crime or wrongdoing.’” Id. “Congress has no ‘general’

   power to inquire into private affairs and compel disclosures,’” and it certainly has no power to

   demand access to confidential and grand jury information in a pending criminal case. “[T]here is

   no congressional power to expose for the sake of exposure,” and “[in]vestigations conducted solely

   for the personal aggrandizement of the investigators or to ‘punish’ those investigated are

   indefensible.” Id. (citing Watkins v. United States, 354 U.S. 178, 200, 187 (1957)). These

   principles apply with full force to this dispute.

          The government fundamentally misunderstands separation-of-powers principles. It cites

   to Article II, Section 3 of the Constitution for the principle that the Court has no authority to bind

   the Executive Branch’s disclosure of confidential pretrial information but notably does not cite a

   constitutional provision that permits the Executive Branch to override the Court in this way—

                                                       4
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 6 of 11




   because no such clause exists in our Constitution. The government can easily separate itself from

   the powers of this Court—powers that it does not want to acknowledge exist—by dismissing its

   appeal of this Court’s order. What the government cannot do, however, is invoke the jurisdiction

   of this Court by filing an indictment and then complain about the Court’s exercise of its own

   jurisdiction.

           In proposing certain conditions under which it plans to share Volume II of the Report with

   Congress, the government misses several areas and does not quell the risks of prejudicial pretrial

   publicity. The government says that “as a condition of viewing the report, [members of Congress]

   would also have to agree not to share information in Volume Two publicly.” But it does not prohibit

   them from sharing their reactions to, or characterizations of, Volume Two, which risks being even

   more prejudicial than disclosure of Volume Two.1 And it proposes no conditions whatsoever

   regarding sharing of the information in Volume Two with congressional staffers; or with other

   members of Congress, who would not be bound by the Department of Justice’s proposed and

   unenforceable measures to protect confidentiality. That is the biggest problem with the conditions

   proposed by the DOJ: There is absolutely no enforcement mechanism as to what Congress does

   with the information once it is in its possession. Notably, members of Congress have immunity

   for assertions made on the floor in session. The likelihood of a substantial leak increases where


   1
     See, e.g. Mary Clare Jalonick, In rowdy scene, House censures Rep. Adam Schiff over Trump-Russia
   investigations, AP News (June 21, 2023), available at https://apnews.com/article/schiff-censure-house-
   republicans-russia-trump-318300df0f7b4f51c5b0ba5dd91edd23 (last accessed January 16, 2025). See also
   H. Res. 521, Congressional Record Vol. 169, No. 108 (June 21, 2023), available at
   https://www.congress.gov/congressional-record/volume-169/issue-108/house-section/article/H3013-1
   (noting that Representative Adam Schiff was “afford[ed] access to sensitive intelligence unavailable to most
   members of Congress”; “abused this trust”; “perpetuated false allegations from the Steele Dossier”;
   “abus[ed] his privileged access to classified information” by “release[ing] a memo justifying the accuracy
   of the Foreign Intelligence Surveillance Act (FISA) warrant application on Trump associate Carter Page . .
   . provoking FISA Court presiding Judge Rosemary Collyer to state unequivocally that the Federal Bureau
   of Investigation ‘misled the FISC’”; “publicly, falsely den[ied] that his staff communicated with a
   whistleblower”; and “misled the public by reading a false retelling of a phone call between President Trump
   and Ukranian President Volodymyr Zelensky.”

                                                        5
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 7 of 11




   partisan political advantage can best be achieved. Once the information is leaked, there will be

   nothing that can be done to cure the prejudice.

          The government’s citation to the Mueller Report is also telling. In the Mueller case—

   which again involved a civil subpoena, not a pending criminal case—the government agreed to

   redact from the Report “sensitive information related to ongoing cases and investigations.” In re

   Application of the Committee on the Judiciary, U.S. House of Representatives, No. 1:19-gj-00048-

   BAH, DE:37 at 3 (D.D.C. Oct. 8, 2019). Here, Volume Two is comprised entirely of “sensitive

   information relating to ongoing cases and investigations.” That distinguishes it from FBI 302

   forms from the closed Mueller investigation after the Department of Justice publicly released that

   Report. If the Mueller case is instructive, as the government argues, then it counsels in favor of

   enjoinment, not of release.

          Here, the government takes a much narrower view of confidentiality than that which it

   advanced in the Mueller matter. The government suggests that it need only redact grand jury

   information from this Report, but the government’s argument in this respect is a illusory: As

   defendants have previously noted, the government’s proposed redactions with respect to grand jury

   information are insufficient, and the Report contains far more confidential and privileged

   information, including argument and information that would have been the subject of motions in

   limine and pursuant to Fed. R. Crim. P. 404(b), that is inappropriate for disclosure at this juncture

   of the case. See United States v. Herring, 568 F.2d 1099, 1103 (11th Cir. 1978) (some cases involve

   “publicity so pervasive and expressly prejudicial that it occasions a violation of the fifth (or

   fourteenth) amendment’s due process clause” and “[i]n such cases, the record of the trial

   proceedings, and the publicity attendant thereto, will lead an appellate court to the presumption

   that the question of a defendant’s guilt was prejudiced by the publicity preceding or

   contemporaneous with that defendant’s trial”).

                                                     6
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 8 of 11




          In Herring, the Eleventh Circuit reversed and remanded a defendant’s conviction due to

   the effect of prejudicial publicity and noted that it “would have to speculate to conclude that undue

   prejudice did not exist.” Id. at 1106. The government asks this Court to engage in the same

   rampant speculation here. Binding Circuit precedent makes clear, however, that “[i]n the interests

   of justice, we must give the defendant the benefit of the doubt.” Id. The government’s assertion—

   that “no reasonable person would expect that a limited and highly regulated in camera review by

   four members of Congress, contingent on their good faith commitment to confidentiality, would

   result in the dissemination of information contained in Volume Two by public communication or

   that a reasonable likelihood exists that such dissemination would interfere with a fair trial or

   otherwise prejudice the due administration of justice”—is at variance with this binding Circuit

   case law.

          And, yet again, the government takes care in stating its positions to promise only that

   information in the Report will not be shared publicly, while remaining notably silent on the

   question whether impactful characterizations of the Report can be shared freely. Given the high-

   profile nature of the case, and the lack of any enforcement mechanism to ensure confidentiality,

   the benefit of the doubt must be given to the defendants. The government’s arguments about “the

   options available to the Court to protect the Defendants from prejudice” when the inevitable leaks

   occur is another red herring, especially in light of its simultaneous position that the Court cannot

   bind it. The government cites “dismissal or reversal” as a possible remedy, but that argument

   simply highlights the stakes of disclosure and concedes that such disclosure is improper in the first

   instance. It suggests that the Department of Justice is focused more on politics than on just

   prosecution. If the Executive Branch’s aims are political, and unrelated to enforcement of the law,

   it can dismiss the case on its own volition. The government’s suggestion—that the Report should

   be released and then the case dismissed when inevitable prejudice occurs—makes a mockery of

                                                    7
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 9 of 11




   this Court’s proceedings and reflects an irresponsible approach to the expenditure of taxpayer

   dollars.

              The government’s separation of powers argument ignores established rules and procedures,

   required by the Constitution and as recognized by the Supreme Court, to prevent prejudice. The

   government does not cite a single case where it has been permitted to disclose to Congress

   confidential material in a pending criminal prosecution.

              II.    The relief requested by defendants is wholly consistent with the law.

              The government again tries to cabin the question of release into civil injunction case law,

   but the reality is that this is a criminal prosecution and the only relief requested is enforcement of

   this Court’s previously entered protective orders and other well-established rules governing

   criminal trial confidentiality. Such orders do not, as the government contends, “intrude[ ] on the

   Attorney General’s prerogative to manage the affairs of the Justice Department.” DE:703 at 6.

   And to the extent that they do, criminal due process rights trump administrative affairs

   management. Rules regarding confidentiality make clear that information such as grand jury

   material can only be shared, even within the government, to further a law enforcement function.

   The government’s own brief asserts that it wants to share the material with Congress for a political

   policy purpose—and the government’s actions demonstrate that the true purpose is neither

   legislative nor law enforcement, but rather political.

              The government again contradicts itself, in one breath portraying the Report as “prepared

   by subordinate officials within the Department,” and in the next arguing that regulations allow the

   Attorney General to “make a report to Congress upon the conclusion of a Special Counsel’s

   investigation.” Id. The government’s blatant attempt to exploit these loopholes should be swiftly

   rejected. Though Jack Smith has resigned, the investigation he initiated continues. It cannot be

   deemed complete for purposes of the federal regulation. And, in any event, the Final Report is a

                                                       8
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 10 of 11




   legal nullity as it was prepared pursuant to a misuse of appropriated funds by a disqualified

   government actor. It is not subject to the regulation.

          The government incorrectly suggests that the Eleventh Circuit answered a merits question

   in this matter, even though it has not spoken as to any merits or other ruling by this Court in this

   matter. The Eleventh Circuit’s Jan. 9, 2025, order denying emergency relief in that court is best

   understood on jurisdictional grounds, and the government should be well aware of that reality; the

   Court of Appeals made clear that if the government had a problem with this Court’s jurisdiction,

   it has the same appellate rights as any other party. No clear manifestation could be made that the

   Eleventh Circuit entertained, much less resolved, the merits issue. Instead, the court of appeals

   left to the government the opportunity to either appeal or to litigate the matter in this Court, the

   government having failed at that point even to file a response to the emergency motion for

   protective order. If the government sincerely believed that the Eleventh Circuit had ruled on the

   merits question, it would also have deemed itself free to release the Report at that time. The

   government knows full well that the Eleventh Circuit’s order is not properly read as allowing

   release, and its efforts to portray it as otherwise reveal the weakness of its merits arguments. The

   concerns about prejudicial publicity are far from “now-allayed,” cf. id., and there is ample basis—

   indeed, constitutional requirement—to enjoin release of Volume Two while this matter is ongoing.

          The disqualification of the Special Counsel is eminently relevant to the question whether

   release is appropriate, and even more relevant to the question—raised by the government’s own

   arguments—of whether the regulations should override the defendants’ constitutional rights. The

   government’s brief either wholly ignores or fundamentally misunderstands the concept of fruit-of-

   the-poisonous-tree.    The DOJ cannot cite regulations that are necessarily predicated on

   constitutional authority to prepare a report and to argue for its release, while also claiming that the

   lawfulness of preparation is of no import because the Report was already transmitted to the

                                                     9
Case 9:23-cr-80101-AMC Document 712 Entered on FLSD Docket 01/16/2025 Page 11 of 11




   Attorney General. The government spends several pages expounding the general authority of the

   Attorney General but it never explains why in its view that authority divests this Court of

   jurisdiction. And that is because there is no defensible explanation to support the government’s

   position. The interests of the Fifth and Sixth Amendment in a criminal prosecution cannot be

   superseded by the very government seeking both to prosecute the defendants to prejudice them in

   derogation of the protections of fair trial rights.

                                              CONCLUSION

           Defendants respectfully request that this Court enjoin release of Volume II of the Final

   Report pending resolution of this case.

   Dated: January 16, 2025              Respectfully submitted:

   /s/ Stanley E. Woodward, Jr.                               /s/ John S. Irving, IV
   Stanley E. Woodward, Jr. (pro hac vice)                    John S. Irving, IV (pro hac vice)
   BRAND WOODWARD LAW, LP                                     E&W LAW, LLC
   400 Fifth Street NW, Ste 350                               1455 Pennsylvania Ave NW, Ste 400
   Washington, DC 20001                                       Washington, DC 20004
   (202) 996-7447 (telephone)                                 (301) 807-5670 (telephone)
   stanley@brandwoodwardlaw.com                               john.irving@earthandwatergroup.com

   /s/ Richard C. Klugh                                       /s/ Larry Donald Murrell, Jr.
   Richard C. Klugh                                           Larry Donald Murrell, Jr.
   Fla. Bar No. 305294                                        Fla. Bar No. 326641
   KLUGH WILSON, LLC                                          L.D. MURRELL, P.A.
   40 N.W. 3rd Street, PH1                                    400 Executive Center Drive, Ste 201
   Miami, FL 33128                                            West Palm Beach, FL 33401
   (305) 536-1191 (telephone)                                 (561) 686-2700 (telephone)
   klughlaw@gmail.com                                         ldmpa@bellsouth.net

   Counsel for Defendant Waltine Nauta                        Counsel for Defendant Carlos De Oliveira




                                                         10
